
ATTORNEY DISCIPLINARY PROCEEDINGS
PER CURIAM.
The Office of Disciplinary Counsel (“ODC”) commenced an investigation into allegations that respondent neglected his clients’ legal matters, failed to communicate with his clients, misled his clients concerning the status of their legal matters, and failed to refund unearned legal fees. Prior to the filing of formal charges, respondent and the ODC submitted a joint petition for consent discipline. Having reviewed the petition,
IT IS ORDERED that the Petition for Consent Discipline be accepted and that Clark C. Roy, Louisiana Bar Roll number 8220, be suspended from the practice of law in Louisiana for a period of three years. This suspension shall be retroactive to April 25, 2001, the date of respondent’s interim suspension.
IT IS FURTHER ORDERED that all costs and expenses in the matter are assessed against respondent in accordance with Supreme Court Rule XIX, § 10.1, with legal interest to commence thirty days from the date of finality of this court’s judgment until paid.
KNOLL, J., recused.
